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                                                                     FILED by
                                                                                7                                 D.C.



                                                                                                Mar 25, 2021

                             UNITED STATES DISTRICT COURT                                        ANGELA E. NOBLE
                                                                                                CLERK U.S. DIST. CT.
                             SOUTHERN DISTRICT OF FLORIDA                                       S. D. OF FLA. -MIAMI

                      21-20184-CR-GAYLES/TORRES
                        Case No.
                                 -16- - - - - - - - - --
                                    U.S.C. § 3372(a)(l)
                                      16 U.S.C. § 3372(d)
                                      16 U.S.C. § 3373(d)(l)(A)
                                      16 U.S.C. § 3373(d)(3)(A)(i)
                                      18 u.s.c. § 2


 UNITED STATES OF AMERICA

 vs.

 ERIK D. KEYSTER,

                                Defendant.
 - - - - - - -- - - - - - -I
                                           INDICTMENT

        The Grand Jury charges that:

                                    GENERAL ALLEGATIONS

        At all times relevant to the Indictment:

         I.     The Lacey Act, Title 16, United States Code, Section 3371(a)(l), in relevant part,

 makes it unlawful for a person to knowingly import, export, transport, sell, receive, acquire, or

 purchase any fish or wildlife or plant taken, possessed, transported, or sold in violation of any law,

 treaty, or regulation of the United States.

        2.      The Lacey Act, Title 16, United States Code, Section 3371 et seq., makes it

 unlawful for a person to knowingly make or submit any false record, account, or label for, or any

 false identification of, any fish or ·wildlife that has been or is intended to be imported, transported,

 purchased; or received from any foreign country, or transported in interstate or foreign commerce.

 16 U.S.C. §§ 3372(d), 3373(d)(3).
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        3.      The term "import" for purposes of the Lacey Act means to land on, bring into

 or introduce into any place subject to the jurisdiction of the United States, whether or not such

 landing, bringing, or introduction constitutes an importation within the meaning of the customs

 laws of the United States. Title 16, United States Code, Section 3371(b).

        4.      In order to protect certain species of fish and wildlife against over-exploitation, the

 United States is a signatory to an international treaty known as the Convention on International

 Trade in Endangered Species of Wild Fauna and Flora, T.I.A.S. 8249, ("CITES"). A purpose of

 CITES is to monitor and restrict trade in certain species of fish, wildlife, and plants to protect them

 from commercial exploitation that might diminish the ability of the species to survive in the wild.

        5.      CITES classifies protected species in its Appendices. Appendix II includes all

 species "which although not necessarily now threatened with extinction may become so unless

 trade in specimens of such species is subject to strict regulation in order to avoid utilization

 incompatible with their survival." CITES, Art II(2)(a). To bring an Appendix II specimen into the

 United States, CITES, as implemented by federal regulations, requires that the importer obtain a

 valid export permit from the country of origin of the specimen, or a valid re-export certificate from

 the country ofre-export. Title 50, Code of Federal Regulations, Section 23.20.

        6.      The Endangered Species Act ("ESA") makes it unlawful "for any person subject

 to the jurisdiction of the United States to engage in any trade in any specimens contrary to

 the provisions of [CITES]." Title 16, United States Code, Section 1538(c)(l).

        7.      To engage in any "trade" means to export, re-export, and import, and

 introduction from the sea. CITES, Art I (c). A specimen means "any animal... whether alive or

 dead" and "any readily recognizable part or derivative thereof." CITES, Art. I (b).

         8.     Four-Homed Chameleons (Trioceros quadricornis) and Cameroon Sailfin
                                                   2
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 Chameleons (Trioceros montium) are listed in Appendix II of CITES, and accordingly require

 valid CITES permits to be lawfully brought into the United States.


                                               COUNTl
                                     Illegal Import of Wildlife
                              16 U.S.C. §§ 3372(a)(l), 3373(d)(l)(A)

         1.     The General Allegations section of this Indictment is realleged and incorporated by

 reference as though fully set forth herein.

        2.      On or about October 16, 2019, in Miami-Dade County, in the Southern District of

 Florida and elsewhere, the defendant,

                                         ERIK D. KEYSTER,

 did knowingly import, transport, sell, receive, acquire, and purchase wildlife, that is, Four-Homed

 Chameleons (Trioceros quadricornis) and Cameroon Sailfin Chameleons (Trioceros montium),

 knowing the wildlife was taken, possessed, transported, and sold in violation of a law, treaty, and

 regulation of the United States, that is, in violation of the Convention on International Trade in

 Endangered Species· of Wild Fauna and Flora (CITES), in that the defendant caused the

 importation of said wildlife without providing the required CITES Certificates from the country

 of origin, in violation of Title 16, United States Code, Section 153 8(c)(1) and the regulations

 promulgated thereunder; in violation of Title 16, United States Code, Sections 3372(a)(l) and

 3373(d)(l)(A) and Title 18, United States Code, Section 2.




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                                             COUNT2
                                          False Labelling
                               16 U.S.C. §§ 3372(d), 3373(d)(3)(A)(i)

        1.      The General Allegations section of this Indictment is realleged and incorporated by

 reference as though fully set forth herein.

        2.      On or about October 16, 2019, in Miami-Dade County, in the Southern District of

 Florida and elsewhere, the defendant,

                                         ERIK D. KEYSTER,

 did knowingly make and submit a false record, account, label for, and a false identification of

 wildlife, that is, multiple species of chameleons, including Four-Homed Chameleons (Trioceros

 quadricornis) and Cameroon Sailfin Chameleons (Trioceros montium), in that the defendant

 caused the delivery of invoices and declarations to the U.S. Fish & Wildlife Service which falsely

 identified the contents of the shipment as three different species other than the species actually

 contained in the shipment, said wildlife having been and intended to be imported from a foreign

 country; in violation of Title 16, United States Code, Sections 3372(d) and 3373(d)(3)(A)(i) and

 Title 18, United States Code, Section 2.

                                             COUNT3
                                          False Labelling
                               16 U.S.C. §§ 3372(d), 3373(d)(3)(A)(i)

        1.      The General Allegations section of this Indictment is realleged and incorporated by

 reference as though fully set forth herein.

        2.      On or about November 1, 2019, in Miami-Dade County, in the Southern District of

 Florida and elsewhere, the defendant,

                                         ERIK D. KEYSTER,


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 did knowingly make and submit a false record, account, label for, and a false identification of

 wildlife, that is, multiple species of reptiles, including CB King Cobras Het Leucy ( Ophiophagus

 Hannah) and other snakes and lizards, in that the defendant caused the delivery of invoices and

 declarations to the U.S. Fish & Wildlife Service which falsely valued the shipment at

 approximately $12,460.00 when in truth and in fact, as the defendant then knew, said wildlife was

 in fact valued at approximately $45,950.00, said.wildlife having been and intended to be imported

 from a foreign country; in violation of Title 16, United States Code, Sections 3372(d) and

 3373(d)(3)(A)(i) and Title 18, United States Code, Section 2.

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 ARIANAFAJARDOSHAN
      EDSTATESATTO            EY



  homas A. Watts-FitzG rald
   sistant United States Attorney




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                                                 UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                          CASE NO._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 v.
                                                                  CERTIFICATE OF TRIAL ATTORNEY*
ERIK D. KEYSTER
                                                                  Superseding Case Information:
                                  Defendant.

Court Division:   (Select One)                                    New defendant(s)           Yes     No
 ✓     Miami                     Key West                         Number of new defendants
       FTL                       WPB           FTP                Total number of counts

        1.        I have carefully considered the allegations of the indictment, the number of defendants, the number of
                  probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.        I am aware that the information supplied on this statement will be relied upon by the Judges of this
                  Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                  Act, Title 28 U.S.C. Section 3161.
        3.        Interpreter:    (Yes or No)            _N_o__
                  List language and/or dialect
        4.        This case will take _3_ days for the parties to try.
        5.        Please check appropriate category and type of offense listed below:

                  (Check only one)                                       (Check only one)

                                                     ✓
        I         0 to 5 days                                            Petty
        II        6 to 10 days                                           Minor
        III       11 to 20 days                                          Misdem.
        IV        21 to 60 days                                          Felony              ✓

        V         61 days and over
        6.       Has this case previously been filed in this District Court?     (Yes or No) No
         If yes: Judge                                     Case No.
         (Attach copy of dispositive order)
                                                                      --------------
         Has a complaint been filed in this matter?         (Yes or No)      No
         If yes: Magistrate Case No.
         Related miscellaneous numbers:                      l 9-MJ-3901-Becerra
         Defendant(s) in federal custody as of
         Defendant(s) in state custody as of
         Rule 20 from the District of
         Is this a potential death penalty case? (Yes or No)
        7.        Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                  prior to August 9, 2013 (Mag. Judge Alicia 0. Valle)?           Yes              No ✓

        8.        Does this case originate from a matter pending in the Northern Region of the U.S. Attorney's Office
                  prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?           Yes             No ✓

        9.        Does this case originate from a matter pending in the Central Region of the U.S.
                  prior to October 3, 2019 (Mag. Judge Jared Strauss)?             Yes
                                                                          Thomas A. Watts-FitzGerald -
                                                                          ASSISTANT UNITED STA ES A
                                                                          FL Bar No. 0273538
 *Penalty Sheet(s) attached                                                                                 REV 6/5/2020
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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                       PENAL TY SHEET

 Defendant's Name: ERIK D. KEYSTER

 Case No:

 Count#: 1

 Illegal Trafficking in Wildlife

 Title 16, United States Code, Section 3372(a)(l), 3373(d)(l)(A)

 * Max.Penalty: Five (5) Years' Imprisonment

 Count #s: 2-3

 False Labelling

 Title 16, United States Code, Section 3372(d), 3373(d)(3)(A)(i)

 * Max.Penalty: Five (5) Years' Imprisonment




  *Refers only to possible term of incarceration, does not include possible fines, restitution,
          special assessments, parole terms, or forfeitures that may be applicable.
